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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT



                                                            :      CHAPTER 11
In re:                                                      :
                                                            :
HO WAN KWOK,                                                :      Case No. 22-50073(JAM)
                               Debtor.                      :
                                                            :      March 15, 2022


                            MOTION FOR AN ORDER ADMITTING
                            CAROLLYNN CALLARI PRO HAC VICE

         Pursuant to Local Rule of Civil Procedure 83.1(d) of the United States District Court

for the District of Connecticut as incorporated by Local Rules of Bankruptcy Procedure 9083-

1, 9083-2 and 9083-3 of the United States Bankruptcy Court for the District of Connecticut,

Kristin B. Mayhew, a member of the Bar of the United States District Court for the District of

Connecticut, moves this Court to permit the appearance of Carollynn H.G. Callari, of the law

firm Callari Partners, LLC (the “Admittee”), to practice pro hac vice before the United States

Bankruptcy Court for the District of Connecticut on behalf of creditors Rui Ma, Zheng Wu and

Weican Meng in the above-referenced action. In support of this Motion, the undersigned

respectfully represents to the Court the following:

         1.     Carollynn H.G. Callari is as member in good standing of the bars of the State of

New York (Bar #2674208) and the State of New Jersey (Bar #053961994).

         2.     Ms. Callari has no pending disciplinary complaints as to which a finding has

been made that such complaint should proceed to a hearing.




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       3.      Ms. Callari has not been denied admission to, been disciplined by, resigned

from, surrendered a license to practice before, or withdrawn an application for admission to

practice while facing a disciplinary complaint before, this Court or any other court. Ms.

Callari has fully reviewed and is familiar with the Rules of the United States District Court for

the District of Connecticut and the Local Rules of Bankruptcy Procedure of the United States

Bankruptcy Court for the District of Connecticut. An Affidavit from Ms. Callari attesting to

these representations is appended hereto as Exhibit A.

       4.      Ms. Callari maintains an office at One Rockefeller Plaza, 10th Floor, New York,

New York 300 10020, Telephone (212) 202-3050, Fax (732) 243-0163 and email at

ccallari@callaripartners.com.

       5.      The $200.00 fee required by D. Conn. L. Civ. R. 83.1(d)(3) for Ms. Callari’s

admission pro hac vice is tendered herewith.

       6.      In accordance with D. Conn. L. Civ. R. 83.1(c), the undersigned agrees to

accept service on behalf of Ms. Callari.

       7.      Attorney Callari has designated the undersigned as her agent for service of

process and the District of Connecticut as the forum for the resolution of any dispute arising

out of her admission, in accordance with Local Rule 83.1(d).




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       WHEREFORE, Kristin B. Mayhew respectfully requests that this Court grant Ms. Callari

permission to appear pro hac vice in this matter.



                                     By       /s/ Kristin B. Mayhew
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